Case 2:17-cv-01703-JAK-JEM                              Document 71                 Filed 04/25/17                 Page 1 of 1 Page ID
                                                              #:235

 Name and address:
 Farida Ghehata, Fsq.
 LAIR-LA.
 2180 W.Crescent Ave., Ste. P
 9naheim, CA 92801




                                                    UNITED STATES DISTRICT COURT
                                                   CENTRAL DISTRICT OF CALIFORNIA

 Larry Klayman
                                                                                                          17-cv-017Q3
                                                              Plaintiffs)
                                      ~'.


American Ci~~l Liberties union, et aI                                            {
                                                                                 ~j           ORDFR ON APPLICATION
                                                                                OF IvTON-RESIDENT ATTORNEY TO APPEAR
                                                           DeEendant(sj.            IN A SPECIFIC CASE PRO HAC VICE

 The Court,having determined whether the required fee has been paid,and having reviewed the
 Application of Non-Resident Attorney to Appear in a Specific Case Pra Hac Vfce filed by
 Masri, Lena F.
                                                                    °} Council on American-Islamic Relations(CAIR)
 Applicant's ~'~'ame fLast fame,First tiame er ~'Lfi.ddle Initi~il)    ~>3 ~;~~~~ Jersev Avg SE
(?48)390-4;84                        (248)928-z?98                      ~4'ashington, DL 20003
 Telephone Number                      Fax ti'wnher
]masri@cair.com
                           E-~llaii Address                            Frr-rniAgenry ~o:n:e ~ Address
 for permission to appear and participate in this case on behalf of
 CAIR FOtiNDATION,INC.
 1tiASHINGTON TRUST FOUNDATION,.iI~C.

 ~~ianie(s) ofParty(iesj Represented                                    ~ 1'IainiiJ~(sj ~ 1}eJendant(s) ~ Othes:
 and designating as Local Counsel
 Chehata, Farida                                                            ~~f• ~~,~IR_L,~                                                          I
 Df52~71CC~5 t'QIil P. (L[!St V~~me, Firsf Name ~ Middle /~7itial}               iZ180 4i'. Crescent r1ve., Ste. F
        272117               ',71.4) 776-1]77         (714) 399-456:1            :~naheim,CA 9'801
 Designee's C~uL Iku No.    7"elephone :~'innLer         Fnr Nuinher
fchehataC~cair.com
                            E.1~1ni1 Andress                                    FrrnvAger7cp~ 4`ame ~ fldtlress
  H~KEBY ORDERS THAT the Application be:
  QJGRANTED.
    DF,I`TIED: ❑for failure to pay the required fee.
                 for failure to attach a Certificate of Gc~uu Standing issued within 30 days prior to fling of Application.
              [
              ]  for railure to complete A~plicatiun:
                 pursuant to 7,.R. S3-2.1,3.2: [~, Applicant resides in Clalifornia,
                                                                                [       pre~~ous App]ications listed indicate Applicant
                 is regularly employed or engaged in business, pro[essional, or other similar actirlties in California.
                 pursuant to I_,R. 83-?.1.3.4; Lvcal(:ounseL•~ [s nut member of Rax of this Court; ~ daes nit ntaint~In okice in Uis[rict.
                 because
  IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: C be r                                            ided ❑ ii~k be refunded.
 Dated             y~ 2S—/
                                                                                   —F7~~frr~ealree~jv~~+e/U.S. Magistrate Judge
Ci--69 OR171:R (S/ ~h;        p~ pRDEH ON APPLiCAT70N OF NO\-RF,51Dk\`T ATTOA.'~El'TC!AYPf,1H.IN
                                                                                                   d SPECIFIC CASE PRO ffAC VECE     Pa;;e. 1 a~ I
